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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

BERNHARDT TIEDE, II; TEXAS PRISONS §
COMMUNITY ADVOCATES; BUILD UP,                     §
INC. a/k/a JUSTICE IMPACTED WOMEN’S §
ALLIANCE; TEXAS CITIZENS UNITED                    §
FOR REHABILITATION OF ERRANTS;                     §
and COALITION FOR TEXANS WITH                      §
DISABILITIES,                                      §
                                                   §
                 Plaintiffs,                       §
                                                   §
v.                                                 §                  1:23-CV-1004-RP
                                                   §
BRYAN COLLIER, in his official capacity as         §
Executive Director of Texas Department of Criminal §
Justice,                                           §
                                                   §
                 Defendant.                        §

                                              ORDER

       Before the Court is Defendant Bryan Collier’s (“Collier”) Emergency Motion to Continue

the Preliminary Injunction Hearing by three weeks. (Dkt. 114). The Court heard arguments from

both sides on the motion at a telephonic conference on June 27, 2024. (Min. Entry, Dkt. 115).

       IT IS ORDERED that the hearing on the motion for preliminary injunction, (Dkt. 50), is

reset for Tuesday, July 30, 2024 at 9:00a.m. in Courtroom 4, on the Fifth Floor, United States

Courthouse, 501 West Fifth Street, Austin, TX. The Court will hear arguments from both sides on

the motion for preliminary injunction. If any party anticipates calling one or more witnesses to




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testify, please notify Courtroom Deputy Julie Golden in advance of the hearing at

julie_golden@txwd.uscourts.gov.

        SIGNED on June 27, 2024.

                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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